    Case 2:07-md-01873-KDE-MBN Document 14483 Filed 06/23/10 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                       MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                    SECTION “N-5"

                                                                       JUDGE ENGELHARDT

                                                                       MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Mark R. Mosley, as wrongful death beneficiary
and representative of Betty O. Mosley, Deceased, et al
v Gulf Stream Coach, Inc., et al
Case No. 2:10-cv-1356
______________________________________________________________________________

  PLAINTIFFS’ UNOPPOSED SECOND MOTION TO EXTEND TIME TO PERFECT
                          SERVICE ON DEFENDANTS
______________________________________________________________________________

       COME NOW PLAINTIFFS, through undersigned counsel and respectfully request

additional time within which to perfect service on all Defendants. In support thereof, Plaintiffs

show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 23, 2009 (Case No. 1:09-cv-824).

       2.      Plaintiffs have been unable to serve the Defendants to date because Plaintiff

Eloise Gould has been unable to identify her contractor and pursuant to Pretrial Order 55,

summons could not be issued. Plaintiffs have undertaken the following efforts to identify their

contractor. FEMA has provided the manufacturer’s information for the unmatched Plaintiffs but

has not provided the contractor information for these Plaintiffs. Additionally, FEMA has not

provided identification numbers adequate to identify the contractor. Furthermore, Plaintiffs has

received their IA File, which did not identify the contractor.
    Case 2:07-md-01873-KDE-MBN Document 14483 Filed 06/23/10 Page 2 of 3




       3.      David Kurtz, liaison counsel for the Contractor Defendants, Henry T. Miller,

counsel for the United States Department of Justice, and Andrew Weinstock, counsel for Gulf

Stream, have all stated that they do not oppose Plaintiffs’ motion.

       WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court

to extend the deadline until August 2nd, 2010, to insure that service is perfected on all parties.

       Respectfully submitted this the 23rd day of June, 2010.

                                                       By:            s / Rose M. Hurder
                                                                      Rose M. Hurder

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    Case 2:07-md-01873-KDE-MBN Document 14483 Filed 06/23/10 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
